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 6                     IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                    No. CR-19-00448-002-PHX-DLR
 9
                          Plaintiff,
10                                                ORDER
              vs.
11
12   James B. Panther, Jr.,
13                        Defendant.
14         On or about April 30, 2019, the Court enter a Modified Order Setting Conditions of
15   Release as to Defendant James B. Panther Jr. (Doc. 15). Paragraph 10 of the Release Order
16   required the Defendant to execute an appearance bond in the amount of $200,000.00 that
17   was secured via a trust deed to the United States on real property approved by a federal
18   judge. On May 22, 2022, a Sentencing Hearing was held in this matter, and the Court
19   sentenced the Defendant to a sixty-month term of probation. Accordingly,
20         IT IS ORDERED that Mr. Panther’s Appearance Bond in this matter is hereby
21   exonerated and released. All suretors of Mr. Panther’s Appearance Bond and any real
22   property that was used to secure the Appearance Bond are also released from liability in
23   connection with said bond.
24         Dated this 31st day of May, 2023.
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27                                               Douglas L. Rayes
                                                 United States District Judge
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